                           United States District Court
                         Western District of North Carolina
                                Charlotte Division

       Latessia Y. Smith-Wine,                       JUDGMENT IN CASE

              Plaintiff(s),                           3:20-cv-00715-DSC

                  vs.

   Commissioner of Social Security ,

            Defendant(s).



DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 29, 2021 Order.

                                               October 29, 2021




        Case 3:20-cv-00715-DSC Document 14 Filed 10/29/21 Page 1 of 1
